     Case 2:20-mc-00012-JAK-AGR Document 10 Filed 02/20/20 Page 1 of 1 Page ID #:407


                                                                          JS-6
 1
 2
                                                                           2/20/2020
 3
 4
 5
 6
 7
 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10
11     AJ REYES and BEHESHTA   ) CASE NO. 2:20-mc-00012-JAK-AGR
       MAHBOOB, on behalf of   )
12     themselves, and all others similarly
                               ) [PROPOSED] ORDER OF DISMISSAL
       situated,               )
13                             )
               Plaintiffs,     )
14                             )
           vs.                 )
15                             )
       EDUCATIONAL CREDIT      )
16     MANAGEMENT CORPORATION, )
                               )
17             Defendant.      )
                               )
18
19
             Having considered the parties’ Stipulation for Dismissal, the above-entitled
20
       action is hereby dismissed in its entirety, without prejudice. Each party shall bear
21
       its own costs and fees.
22
             IT IS SO ORDERED.
23
24
       DATED: February 20, 2020
25                                            UNITED
                                              UN
                                               NITED STATES DIST
                                                            DISTRICT JUDGE
                                              JOHN A. KRONSTADT
26
27
28



                                              1
